                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

 DAVID LIVINGSTON,                                )
                                                  )
                Petitioner,                       )
                                                  )
 v.                                               )       No.:    3:10-CR-88-TAV-HBG-1
                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
                Respondent.                       )


                  AMENDED MEMORANDUM OPINION AND ORDER1

        Before the Court is Petitioner’s motion to vacate, set aside, or correct his sentence

 [Doc. 66], and supplement thereto [Doc. 72]. Because defendant has already litigated a 28

 U.S.C. § 2255 motion on the merits [see Docs. 19, 44, 45], the instant motion challenging his

 sentence is a second or successive one. Under the Antiterrorism and Effective Death Penalty

 Act of 1996, petitioner cannot file a second or successive § 2255 motion in this Court until

 he has moved in the Sixth Circuit Court of Appeals for an order authorizing this Court to

 consider the motion. 28 U.S.C. § 2255(h). The Court has not received any such order.

 Accordingly, the Clerk is DIRECTED to TRANSFER this motion [Doc. 66] and

 supplement [Doc. 72] to the Sixth Circuit under 28 U.S.C. § 1631 for authorization.

        IT IS SO ORDERED.


                                       s/ Thomas A. Varlan
                                       UNITED STATES DISTRICT JUDGE

        1
            This Amended Memorandum Opinion and Order is identical in all respects to the
 original order previously entered by the Court, with the exception of the addition of this footnote.
 The Court was recently informed that the Clerk’s Office erroneously failed to mail a copy of the
 original order to one or more parties entitled to service by mail. To protect any potential
 appellate rights that may, or may not, be impacted, the Court is issuing this This Amended
 Memorandum Opinion and Order.


Case 3:10-cr-00088-TAV-HBG Document 95 Filed 11/02/21 Page 1 of 1 PageID #: 487
